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IN THE UNITED STATES DISTRICT COURT FT Cus afin
FOR THE NORTHERN DISTRICT OF TEXAS — pq9z yay 5
FORT WORTH DIVISION 7 PHI2: 39
CLERK OF
HON. ELAINE L. CHAO, § COURT
SECRETARY, UNITED STATES §
DEPARTMENT OF LABOR, §
Plaintiff, § 4- 05 cv-338 Y
§ CIVIL. NO.
V. §
§
ALLIED PILOTS ASSOCIATION, §
Defendant. §
COMPLAINT

Plaintiff, Elaine L. Chao, Secretary, Department of Labor alleges as follows:
NATURE OF THE ACTION

1. Plaintiff brings this action under Title IV of the Labor-Management Reporting
and Disclosure Act of 1959, as amended (Act of September 14, 1959, 73 Stat. 519, et
seq., 29 U.S.C. §§ 481-484, hereinafter referred to as “LMRDA” or “the Act”).

JURISDICTION AND VENUE

2. This Court has jurisdiction over this action pursuant to 29 U.S.C. § 482(b).

3. Venue lies in this district pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. §
482(b).

PARTIES

4. Plaintiff, Elaine L. Chao (Chao), is the duly appointed Secretary of Labor,

United States Department of Labor. Chao is authorized to bring this action under section

402 of Title IV of the Labor-Management Reporting and Disclosure Act of 1959 (29

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U.S.C. § 482(b)).

5. Defendant, Allied Pilots Association (APA), is a national labor organization,
and at all times relevant to this action has been an unincorporated association maintaining
its principal office at 14600 Trinity Boulevard, Suite 500, City of Fort Worth, County of
Tarrant, State of Texas, within the jurisdiction of this Court. APA can be served with
process at the above business address.

FACTUAL ALLEGATIONS

6. The APA is a national labor organization engaged in an industry affecting
commerce within the meaning of sections 3(1), 3(j) and 401(a) of the Act (29 U.S.C. §§
402(i), 402(j) and 481(a)), at all times material to this cause of action.

7. The APA, purporting to act pursuant to its Constitution and Bylaws, conducted
an election of officers on June 22, 2004, which election was subject to the provisions of
Title IV of the Act (29 U.S.C. §§ 481-484).

8. By letter dated July 1, 2004, to the national’s appeal board, the complainant,
Mark L. Hunnibell (Hunnibell), a member in good standing of the APA, protested the
APA’s election.

9. By decision dated September 16, 2004, the Appeal Board denied the protest.

10. Having exhausted the internal remedies available, and having received a final
decision, Hunnibell filed a timely complaint with Chao, the Secretary of Labor on October

15, 2004, in accordance with section 402(a)(1) of the Act, 29 U.S.C. § 482(a)(1).

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11. By aseries of letters dated October 27, 2004, December 20, 2004, March 1,
2005, April 7, 2005, and April 22, 2005, the APA agreed that the time within which Chao
may bring suit with respect to the APA’s election be extended to May 27, 2005.

12. Pursuant to section 601 of the Act (29 U.S.C. § 521), and in accordance with
section 402(b) of the Act (29 U.S.C. § 482(b)), Chao investigated the complaint and, as a
result of the facts shown by her investigation, found probable cause to believe that
violations of Title IV of the Act (29 U.S.C. §§ 481- 484) had occurred in the conduct of
the APA’s June 22, 2004, election that may have affected the outcome of the election and
that had not been remedied at the time of the institution of this action.

COUNT 1
VIOLATION OF THE ACT: SECTION 401(a)

13. Section 401(a) of the Act (29 U.S.C. § 481(a)) was violated during the conduct
of the aforesaid election when the APA failed to hold the election by secret ballot in that
members cast their votes over the Internet in such a manner that the voters and their
individual ballot choices could have determined.

14. The violation of section 401(a) of the Act (29 U.S.C. §§ 481(a)) found and
alleged above, may have affected the outcome of the APA's election for the offices of
President, Vice President, and Secretary-Treasurer.

PRAYER FOR RELIEF

Chao, therefore, requests this Court:

(a) Declare the APA’s election for the offices of President, Vice President, and

Secretary-Treasurer to be null and void;

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(b) Direct the APA to conduct new elections for such offices, under the
supervision of Chao;
(c) For the costs of this action; and
(d) For such other relief as may be appropriate.
Respectfully submitted,

PETER D. KEISLER
ASSISTANT ATTORNEY GENERAL

RICHARD B. ROPER
UNITED STATES ATTORNEY

OR

Tami C. Parker

Assistant United States Attorney
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Associate Solicitor, Civil Rights
and Labor-Management Division

SHARON E. HANLEY
Counsel for Labor-Management Programs

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information ed herein neither replace nor sup plement the fil d service of pleadings

 
 
  

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(b) comer of Reside “COURT, County of Residence of First Listed TARRAMT
eXeHP LAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE. INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attorney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Tami C. Parker, Assistant United States Attorney James & Hoffman
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Fort Worth, Texas 76102-6882 Washington, DC 20536-4704
Telephone: 817.252.5200; FAX 817.978.6351 Telephone: 202.496.0500; FAX: 202.496.0555
Il. BASIS OF JURISDICTION (Place an ““X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
DEF DEF
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Plaintiff (U.S. Government Not a Party) of Business In This State
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Defendant (Indicate Citizenship of Parties of Business In Another State
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IV. NATURE OF SUIT ___(Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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QO 220 Foreclosure 442 Employment Sentence QO 740 Railway Labor Act FEDERAL TAX SUITS 900 Appeal of Fee Determination
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Proceeding State Court Appellate Court Reopened Litigation Judgment
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VI. CAUSE OF ACTION (Cite the U S. Civil Statute under which you are filing and write brief statement of cause.
Do not cite jurisdictional statutes unless diversity.)
Title IV of the Labor-Management Reporting and Disclosure Act. Violation of the Act, when Defendant failed to hold a secret ballot election for Officers
VII. REQUESTED IN ( CHECK IF THISIS ACLASS ACTION DEMANDS CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: OyYes No
(See
VII. RELATED CASE(S) _ instructions):
IF ANY ws DOCKET NUMBER
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RECEIPT # AMOUN APPLYING IFP JUDGE MAG. JUDGE
